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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin des Primevères 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL
 Chemin des Primevères 45
 Fribourg, 1700
 Switzerland,

                      Plaintiffs,

                          v.                          Civil Action No. 1:17-cv-02559
 BOLIVARIAN REPUBLIC OF VENEZUELA
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                      Defendant.



            SUPPLEMENTAL DECLARATION OF KRISTEN K. BROMBEREK

       I, Kristen K. Bromberek, offer this supplementary declaration under LCvR 83.2(d)(5) in

support of my pending application to appear pro hac vice before the Court (ECF No. 14), as

required by the Court’s 23 July, 2018, order.

       1.      In the last two years, I have not been admitted pro hac vice in this Court.

       2.      I certify under penalty of perjury that the foregoing statements are true and

correct.

       Date: July 24, 2018
